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                                 Exhibit 9
Plaintiffs’ Corrected Averment of Jurisdictional Facts and Evidence
      and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1


Please note that the SDNY’s ECF system is unable to accept this Exhibit
given its file size. A complete set of Plaintiffs’ Exhibits is being filed with
the SDNY’s Records Management Office on DVD. If you wish to obtain
a copy of this Exhibit, or others, you may contact the following Plaintiffs’
representatives.

           • Coleen Williams - CWilliams@cozen.com
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